        Case 5:21-cv-00844-XR Document 746-1 Filed 09/01/23 Page 1 of 1



                            IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,             §
       Plaintiffs,                               §
                                                 §
  v.                                             §    Case No. 5:21-cv-844-XR
                                                 §
  GREGORY W. ABBOTT, et al.,                     §
       Defendants.                               §




 [PROPOSED] ORDER GRANTING STATE DEFENDANTS’ MOTION IN LIMINE
                         TO EXCLUDE


       Before the Court is State Defendants’ Motion in Limine to Exclude Dr. Daniel Smiths’

Addendum, Ameer Patel, and Dr. Kara Ayers. After reviewing the briefing on the matter, the evidence

properly offered in support of State Defendants’ Motion, the evidence in the record of this case, and

all other matters properly before the Court, the Court finds that State Defendants’ motion should be

GRANTED.

       IT IS THEREFORE ORDERED that State Defendants’ Motion is hereby GRANTED, and

Dr. Smith’s addendum, Ameer Patel, and Dr. Ayers are excluded.



DATE: ________________________

                                                      __________________________________
                                                      XAVIER RODRIGUEZ
                                                      UNITED STATES DISTRICT JUDGE
